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 6   Attorneys for Movant/Judgment Creditor
 7                            IN THE UNITED STATES BANKRUPTCY COURT
 8                                     FOR THE DISTRICT OF ARIZONA
 9   In re:
                                                           (Chapter 7 Case)
10   JOSE ARIEL FACIO,
                                                           No. 2:14-bk-07099-PS
11            Debtor.
12   JILL H. FORD, CHAPTER 7 TRUSTEE,
                                                           APPLICATION  FOR  WRIT   OF
13            Movant/Judgment Creditor,                    GARNISHMENT FOR EARNINGS OF
                                                           JUDGMENT DEBTOR
14                      vs.
15   JOSE ARIEL FACIO,
16            Defendant/Judgment Debtor.
17   LGS BARBER SHOP,
18            Garnishee.
19

20            Jill H. Ford, Trustee, Movant and Judgment Creditor herein, by and through her attorneys
21   undersigned, hereby applies, pursuant to A.R.S. §12-1598.03, for a Writ of Garnishment for Earnings of
22   Jose Ariel Facio (SSN: XXX-XX-2227) (“Judgment Debtor”). In support hereof, Trustee respectfully
23   represents:
24            1. The Debtor in the above referenced bankruptcy case filed a Voluntary Petition under Chapter 7
25   of Title 11 on May 12, 2014.
26            2. Trustee is the duly appointed and acting Trustee in this case and Movant in this matter.
27
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                                                     1
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 1
            3. This Court entered an Order Directing Turnover of Property (hereinafter “Order”) in favor of
 2
     Trustee in the above referenced administrative proceeding on October 16, 2014, in the principal sum
 3
     $9,029.00 with attorney’s fees and costs in the amount of $750.00. Until paid, interest on the Order
 4
     accrues at the rate set forth in 28 U.S.C. §1961.
 5
            4.    The total amount of $9,779.00 remains due and owing to the Trustee from the Judgment
 6
     Debtor, plus interest which has been accruing interest at the rate set forth in 28 U.S.C. §1961 since
 7
     October 16, 2014.
 8
            5.   Upon information and belief, Judgment Debtor is an employee of LGS Barber Shop
 9
     (“Garnishee”). Garnishee’s address is believed to be the following:
10
                                                LGS Barber Shop
11
                                             Attn: Martha E. Garcida
12                                          832 W. Baseline Rd., Ste. 24
                                                 Mesa, AZ 85210
13
            6. Trustee has not received notice of the Judgment Debtor’s intent to enter into an agreement
14
     for debt scheduling with a qualified consumer credit counseling organization.
15
            WHEREFORE,          Jill H. Ford, Trustee respectfully requests that this Court issue a Writ of
16
     Garnishment for the earnings of Jose Ariel Facio, Judgment Debtor, as satisfaction of debt to the above
17
     referenced bankruptcy estate in the amount of $9,779.00 plus interest at the rate set forth in 28 U.S.C.
18
     §1961 per annum.
19          RESPECTFULLY SUBMITTED this 12th day of March, 2015.

20                                          LANE & NACH, P.C.
21                                          By      /s/ JCS-029750
                                                    Adam B. Nach
22                                                  Jonathan C. Simon
                                                    Attorneys for Movant/Judgment Creditor
23
     COPY of the foregoing delivered via electronic notification to:
24

25   Office of U.S. Trustee
     230 North First Avenue
26   Phoenix, AZ 85003
     Email: larry.watson@usdoj.gov
27
     By/s/ Stephanie Anderson
28
                                                     2
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